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PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order usreosrares

POSTAL SERVICET

 

 

 

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordingfor in ormation for investigating possible missing or delayed
Political and/or Election Mail. District:___C'/ A LIT i Z SIIC Name: Le a LO

 

Title: O >> Phone #: EO CF 2 4 CS/

 

 

 

i Fens Comments:
Check box | S@ction/Operation:

Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

when checked Defines the work area to be searched.

 

Incoming dock

 

BMEU & BMEU Plant Staging

 

L v1 \¢ ey 2.
Opening units 3 s MAT aan De ATS
es (cllet bund <4

 

AO / Station dispatch area

 

Outbound dock

 

YUAuqa

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

MTE Plant Staging Area

NON

 

MTE trailers

Site MTESC WA
PARS Staging and Operations peat JA

 

 

 

Rewrap Operations

CFS {if applicable} py / A

BRM/Postage Due

 

 

WAY 8 yy

 

 

 

 

 

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